Case 5:16-cv-02331-JGB-KK Document 56 Filed 08/16/19 Page 1 of 4 Page ID #:644




 1 Peter J Gimino, III
 2 pgimino@giminolaw.com
     The Gimino Law Office, APC
 3 18101 Von Karman Avenue Suite 300
 4 Irvine, CA 92612
     Telephone: (949) 225-4446
 5
     Facsimile: (949) 225-4447
 6
     [Additional counsel appearing on signature page]
 7
 8 Attorneys for Plaintiff and the Putative Classes
 9
     Attorneys for Plaintiff LUCAS ALEX AMBREZEWICZ,
10   and the Class
11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13                              EASTERN DIVISION

14
      LUCAS ALEX AMBREZEWICZ,
15    individually and on behalf of all others
      similarly situated,
16                                               Case No. 5:16-cv-02331-JGB-KK
17                       Plaintiff,

18    v.
19
      LEADPOINT, INC., a Delaware
20    corporation,
21                       Defendant.
22
23     STIPULATION TO ALLOW THE PARTIES’ DEPOSITIONS TO TAKE
                  PLACE ON SEPTEMBER 5 AND 6, 2019
24
25
26
27

28
Case 5:16-cv-02331-JGB-KK Document 56 Filed 08/16/19 Page 2 of 4 Page ID #:645




 1          WHEREAS on January 8, 2019, the Court issued its Civil Trial Scheduling
 2   Order setting deadlines for the case, including an August 26, 2019 discovery cut-
 3   off;
 4          WHEREAS the Parties are working cooperatively to schedule depositions
 5   prior to the discovery cut-off;
 6          WHEREAS Plaintiff’s lead counsel, Patrick Peluso, who resides in Denver,
 7   Colorado, is on paternity leave after the birth of his children on July 31, 2019;
 8          WHEREAS because Mr. Peluso is on paternity leave with his newborns the
 9   Parties jointly request leave to conduct the 30(b)(6) deposition of LeadPoint, Inc.
10   and the deposition of Plaintiff within eleven (11) days of the August 26, 2019
11   discovery cut-off;
12          WHEREAS in the event the Court approves this stipulation, the parties have
13   agreed to conduct Plaintiff’s deposition on September 5, 2019 and the 30(b)(6)
14   deposition of LeadPoint on September 6, 2019 in Los Angeles, California;
15          WHEREAS no other deadlines in the case will be affected by this request;
16          IT IS HEREBY STIPULATED AND AGREED by the Parties, through their
17   undersigned counsel, that:
18          (i)   The parties may have until September 6, 2019 to conduct Plaintiff’s
19                deposition and the 30(b)(6) deposition of LeadPoint, Inc..
20                IT IS SO STIPULATED.
21
22   August 16, 2019                            By: /s/ Patrick H. Peluso
23                                              Peter J. Gimino, III
24                                              pgimino@giminolaw.com
                                                The Gimino Law Office, APC
25                                              18101 Von Karman Ave., Ste. 300
26                                              Irvine, CA 92612
                                                Tel: (949) 225-4446
27
28
                                          STIPULATION
                                               -2-
Case 5:16-cv-02331-JGB-KK Document 56 Filed 08/16/19 Page 3 of 4 Page ID #:646




 1
                                          Fax: (949) 225-4447

 2                                        Patrick H Peluso*
 3
                                          ppeluso@woodrowpeluso.com
                                          WOODROW & PELUSO, LLC
 4                                        3900 East Mexico Avenue, Suite 300
 5                                        Denver, CO 80210
                                          Telephone: 720-213-0675
 6                                        Facsimile: 303-927-0809
 7
                                          Counsel for Lucas Alex Ambrezewicz
 8
 9
                                               By: /s/ Esteban Morales
10                                             Joshua Briones
11                                             Esteban Morales
                                               MINTZ LEVIN COHN FERRIS
12                                             GLOVSKY AND POPEO, P.C.
13                                             2029 Century Park East, Suite 1370
                                               Los Angeles, California 90067
14                                             T: (310) 586-3200; F: 310-586-3202
15                                             jbiones@mintz.com
                                               emorales@mintz.com
16
17                                             Counsel for Defendant LeadPoint,
18
                                               Inc.

19
20                                        *pro hac vice
21
22
23
24
25
26
27
28
                                     STIPULATION
                                         -2-
Case 5:16-cv-02331-JGB-KK Document 56 Filed 08/16/19 Page 4 of 4 Page ID #:647




 1
                              CERTIFICATE OF SERVICE

 2
           I hereby certify that the foregoing was served upon its filing via this Court’s
 3
     CM/ECF system on this 16th day of August, 2019, on all counsel of record.
 4
 5
                                              /s/ Patrick H. Peluso
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         STIPULATION
                                             -2-
